           Case 7:22-cv-00024-WLS Document 1 Filed 03/11/22 Page 1 of 7




                 IN THE UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF GEORGIA
                          VALDOSTA DIVISION

 SHANTELLE REAMS,

       Plaintiff,                           CIVIL ACTION FILE NO.

 v.                                         __________________________

 RAFAEL, BUCAREY, WERNER
 ENTERPRISES, INC., & ACE                   REMOVED FROM SUPERIOR
 AMERICAN INSURANCE                         COURT OF LOWNDES COUNTY
 COMPANY,                                   CIVIL ACTION FILE NO.
                                            2022CV0149
       Defendants.

                    DEFENDANTS' NOTICE OF REMOVAL


TO: The Honorable Judges of the United States District Court for the Middle District

of Georgia, Valdosta Division:

      COME NOW, Rafael Bucarey, Werner Enterprises, Inc., & ACE American

Insurance Company (hereinafter “Defendants”), and file the following Notice of

Removal to United States District Court, showing the Court as follows:

      1.      A civil action was filed on February 3, 2022, in the Superior Court of

Lowndes County, State of Georgia. That action is designated there as Civil Action File

No.: 2022CV0149. Defendants first received notice of the suit on the day it was served,
           Case 7:22-cv-00024-WLS Document 1 Filed 03/11/22 Page 2 of 7




February 10, 2022. This removal is timely filed. Plaintiff has previously submitted a

demand to Defendants in the amount of $150,000.00.

      2.      Defendants file herewith a copy of all process, pleadings, and orders

received by Defendants in Civil Action File No.: 2022CV0149, pursuant to 28 USC

§1446.

      3.      Defendant Rafael Bucarey is an individual and citizen residing with the

intent to remain in the State of Florida.

      4.      Defendant Werner, is now, was at the commencement of Civil Action

File No.: 2022CV0149, and at all times since has been an entity organized and existing

under the laws of the State of Nebraska.

      5.      Defendant Werner's Principal Office at the time of filing of Civil Action

File No.: 2022CV0149, was, and at all times since has been located in Omaha, NE.

      6.      Defendant Ace American Ins. Co.'s was at the commencement of Civil

Action File No. 2022CV0149, and at all times since has been an entity organized and

existing under the laws of the Commonwealth of Pennsylvania.

      7.      Defendant Ace American Ins. Co.'s Principal Office was at the

commencement of Civil Action File No. 2022CV0149, and at all times since has been

located in the Commonwealth of Pennsylvania.

                                            2
           Case 7:22-cv-00024-WLS Document 1 Filed 03/11/22 Page 3 of 7




      8.      Upon information and belief, Plaintiff is an individual residing in the

State of Georgia.

      9.      The action described above is a civil action with a claim of which this

Court has original jurisdiction, and it is one that may be removed to this Court by the

Defendant pursuant to the provisions of 28 USC §§ 1332 and 1441 et seq., in that there

is complete diversity among the Parties, the Parties are not residents of the same State,

and the amount in controversy exceeds $75,000.00 exclusive of interest and costs.

           a. Plaintiff has previously submitted a demand to Defendants in the amount

              of $150,000.00

           b. "Amount in controversy" means simply the amount sought by Plaintiff

              that can be legally awarded by the fact-finder. "The jurisdictional fact

              in this case is not whether the damages are greater than the requisite

              amount, but whether a fact finder might legally conclude that they are:

              In other words, an amount that a plaintiff claims is not 'in controversy'

              if no fact finder could legally award it." Kopp v. Kopp, 280 F.3d 883,

              885 (8th Cir., 2002). “[T]he plaintiffs' likelihood of success on the

              merits is largely irrelevant to the court's jurisdiction because the

              pertinent question is what is in controversy in the case, not how much

              the plaintiffs are ultimately likely to recover." Pretka v. Kolter City
                                           3
           Case 7:22-cv-00024-WLS Document 1 Filed 03/11/22 Page 4 of 7




               Plaza II, Inc., 608 F.3d 744, 751 (11th Cir., 2010). In a tort case the

               amount in controversy includes "general, special, and punitive

               damages." Williams v. Best Buy Co., 269 F.3d 1316, 1320 (11th Cir.,

               2001).

         10.   Defendant attaches hereto a copy of the Summons and Complaint in

Superior Court of Lowndes County, State of Georgia, marked as Exhibit “A”.

         11.   Defendant attaches hereto a copy of Defendants’ Notice of Removal

which has been sent for filing in the Superior Court of Lowndes County, State of

Georgia, marked as Exhibit “B”.

         12.   All Defendants agree to this removal.

         WHEREFORE the Defendant prays that the above action now pending against

them in the Superior Court of Lowndes County, State of Georgia, be removed to this

Court.




                                           4
        Case 7:22-cv-00024-WLS Document 1 Filed 03/11/22 Page 5 of 7




      Respectfully submitted this 11th day of March, 2022.


                               HALL BOOTH SMITH, PC

                               /s/ Sean B. Cox
                               SEAN B. COX
                               Georgia State Bar No. 664108
                               MARK D. CHRISTOPHER
                               Georgia State Bar No. 821387
                               Counsel for Defendants

191 Peachtree Street NE, Suite 2900
Atlanta, GA 30303-1775
T: (404) 954-5000
F: (404) 954-5020
scox@hallboothsmith.com
mchristopher@hallboothsmith.com




                                       5
        Case 7:22-cv-00024-WLS Document 1 Filed 03/11/22 Page 6 of 7




                IN THE UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF GEORGIA
                         VALDOSTA DIVISION

SHANTELLE REAMS,

       Plaintiff,                            CIVIL ACTION FILE NO.

v.                                           __________________________

RAFAEL BUCAREY, WERNER
ENTERPRISES, INC., & ACE                     REMOVED FROM SUPERIOR
AMERICAN INSURANCE                           COURT OF LOWNDES COUNTY
COMPANY,                                     CIVIL ACTION FILE NO.
                                             2022CV0149
       Defendants.

                         CERTIFICATE OF SERVICE


      I hereby certify that I have this day served a copy of the within and foregoing

DEFENDANTS' NOTICE OF REMOVAL upon all parties to this matter by

depositing a true copy of same in the U.S. Mail, proper postage prepaid, addressed

to counsel of record as follows and/or filing said document with the CM/ECF system

which will automatically send electronic notification to the following:

                                Carl G. Fulp, III
                               Carl G Fulp III PC
                         2935 N. Ashley Street, Suite 107
                                 P.O. Box 3123
                            Valdosta, GA 31604-3123
                               carl@fulplaw.com


                                         6
              Case 7:22-cv-00024-WLS Document 1 Filed 03/11/22 Page 7 of 7




         Respectfully submitted this 11th day of March, 2022.
                                   HALL BOOTH SMITH, PC


                                   /s/ Sean B. Cox
                                   SEAN B. COX
                                   Georgia State Bar No. 664108
                                   MARK D. CHRISTOPHER
                                   Georgia State Bar No. 821387
                                   Counsel for Defendants

191 Peachtree Street NE, Suite 2900
Atlanta, GA 30303-1775
T: (404) 954-5000
F: (404) 954-5020
scox@hallboothsmith.com
mchristopher@hallboothsmith.com




 73826569-1
                                           7
